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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA ex rel.
 CHRISTOPHER DRENNEN,

                                    Plaintiffs,
                                                        No. 1:09-cv-10179-GAO
                      vs.

 FRESENIUS MEDICAL CARE
 HOLDINGS, INC.,

                                   Defendant.



    MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR REFERENCE TO
                  MAGISTRATE JUDGE DEIN FOR A
     REPORT AND RECOMMENDATION ON FEE PETITION (DOC. NO. 342)

       Relator Christopher Drennen (“Relator”) respectfully submits this Memorandum of Law

in support of his Motion for Reference to Magistrate Judge Dein for a Report and Recommendation

on Fee Petition (Doc. No. 342).

                               PROCEDURAL BACKGROUND

       This case was filed by Relator on February 10, 2009, against Defendant Fresenius Medical

Care Holdings, Inc (“Fresenius”). See Doc. No. 1. Extensive and contentious discovery ensued

over a seven-year period in which Fresenius defended aggressively. On January 14, 2016, the

United States of America (the “United States”) was permitted to intervene belatedly upon the

report and recommendation to this Court of Magistrate Judge Judith G. Dein (“Judge Dein”), to

whom this Court had referred the question of whether late intervention should be permitted. See

Doc. Nos. 196, 206. The United States intervened as to one claim, but chose not to intervene

regarding a second claim that presented an alternative damages approach. See id. The United




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States, again upon the report and recommendation of Judge Dein to this Court, was permitted to

engage in further discovery (narrowed by this Court), see id., and in which Relator’s counsel

participated as reflected in the Motion for Award of Reasonable Expenses, Attorneys’ Fees and

Costs Under the False Claims Act, 31 U.S.C. § 3730(d)(1) and (2) (the “Fee Petition”), and added

significant value because of their deep knowledge of the facts following their own seven years of

discovery.

       Pursuant to the Court’s Order on July 14, 2020, see Doc. No. 353 at 8:24–9:11, 10:20–21,

Relator’s counsel timely filed the Fee Petition, see Doc. No. 342. Briefing ensued and, six months

later, the Court referred the case to mediation before Magistrate Judge Marianne B. Bowler. See

Doc. Nos. 374, 375. A mediation session occurred on May 13, 2021, but the parties did not reach

a resolution, and Magistrate Judge Bowler recommended that the Court restore the case to its trial

list. See Doc. Nos. 377, 379.

       With the benefit of substantial briefing, the Court held a hearing on July 22, 2021, on the

Fee Petition and on a Motion filed by Fresenius challenging the timeliness of the Fee Petition, and

took both under advisement. See Doc. Nos. 388, 389. Relator periodically sought, and received,

permission to file supplemental briefing in 2022 and 2023 to update the Court on subsequent

authority. See Doc. Nos. 392, 395, 397, 402.

       The only magistrate judge who has been involved in this case in a judicial role is Judge

Dein,1 whose intended retirement at some point next year2 was recently announced. Hence, if the

Court wishes to bring this matter to as prompt a resolution as is feasible, as Relator’s attorneys do,

a referral to Judge Dein for a report and recommendation may be the most efficient and expeditious



1
 Magistrate Judge Bowler functioned as a mediator.
2
 At this point, Judge Dein appears to have matters scheduled before her through at least the end
of February 2024.



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route. If the Court were to refer the matter to Judge Dein, she would have the benefit of extensive

knowledge of the history of the case and the efforts of Relator’s counsel, in addition to the

substantial briefing and transcript of the hearing on the Fee Petition.

                                           ARGUMENT

I.     REFERRING THE FEE PETITION TO JUDGE DEIN FOR A REPORT AND
       RECOMMENDATION BEFORE HER RETIREMENT MAY EXPEDITE
       RESOLUTION OF THE FINAL ISSUE IN THE CASE, TO THE BENEFIT OF
       BOTH THE PARTIES AND THE COURT.

       Relator respectfully suggests that referring the Fee Petition to Judge Dein for a report and

recommendation may expedite the resolution of the final issue remaining in this case, to the benefit

of the parties and the Court. An expedited resolution benefits the parties with closure, and benefits

the Court by streamlining the completion of a quasi-ministerial function and freeing the Court to

deal with more substantive Article III functions. Under Rules 54 and 72 of the Federal Rules of

Civil Procedure, “[t]he court . . . may refer a motion for attorney’s fees to a magistrate judge under

Rule 72(b) as if it were a dispositive pretrial matter,” Fed. R. Civ. P. 54(d)(2)(D), i.e., for a

“recommended disposition, including, if appropriate, proposed findings of fact,” Fed. R. Civ. P.

72(b)(1). On receipt of a recommended disposition to which objections have been made, a “district

judge must determine de novo any part of the magistrate judge’s disposition that has been properly

objected to. The district judge may accept, reject, or modify the recommended disposition; receive

further evidence; or return the matter to the magistrate judge with instructions.” Fed. R. Civ. P.

72(b)(3).

II.    UNDER RULES 6 AND 8 OF THE RULES FOR UNITED STATES MAGISTRATE
       JUDGES IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
       MASSACHUSETTS, JUDGE DEIN IS THE APPROPRIATE MAGISTRATE
       JUDGE TO ISSUE A REPORT AND RECOMMENDATION ON THE FEE
       PETITION.

       If the Court is to refer the Fee Petition to a magistrate judge for a report and




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recommendation, the Rules for United States Magistrate Judges in the United States District Court

for the District of Massachusetts (“D. Mass. M.J. Rules”) support the principle that the referral be

to Judge Dein because of her prior experience in this case. Rules 6 and 8 of the D. Mass. M.J.

Rules both state that, “when a magistrate judge has already ruled on a matter in a particular case,

a subsequent referral in that case must be assigned to the same magistrate judge.” D. Mass. M.J.

Rules 6(a)(1), 8(a)(1)(C).

       Under D. Mass. M.J. Rules 6 and 8, Judge Dein is the appropriate magistrate judge to

provide a report and recommendation on the Fee Petition, given that the Court previously assigned

this case to her.3 On October 8, 2014, the Court referred the case to Judge Dein for “Full Pretrial,

Dispositive Motions,” including three specific discovery motions. See Doc. No. 133 (referring

Doc. Nos. 117, 119, and 121). On October 28, 2014, Judge Dein entered an Order on the discovery

motions the Court specifically referred, see Doc. No. 141, thereby triggering provision in the rules

that future referrals be made to the same magistrate judge, namely, Judge Dein, see D. Mass. M.J.

Rules 6(a)(1), 8(a)(1)(C). For three-and-a-half years after her initial ruling, Judge Dein presided

over extensive discovery that coincided with a significant portion of the attorneys’ fees the parties

have incurred, making her especially well positioned to provide a recommendation on the factual

record submitted with the Fee Petition before her upcoming retirement. That Judge Dein has issued

reports and recommendations on key motions in this case, including the United States’ Motion for

Leave to Partially Intervene for Good Cause (Doc. No. 178) and Fresenius’ Motion to Strike or

Dismiss Portions of the United States’ Complaint in Intervention (Doc. No. 214), speaks further



3
 While Magistrate Judge Bowler has been involved in this case, the Court appointed her in the
non-judicial capacity of a mediator. Doc. Nos. 147, 375 (“Notice of reassignment to ADR
Provider. Judge Marianne B. Bowler appointed.”) In light of Magistrate Judge Bowler’s
knowledge of the parties’ positions on settlement – including regarding attorneys’ fees – it would
not be appropriate to refer the Fee Petition to Magistrate Judge Bowler.



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to the prudence of referring the Fee Petition for a report and recommendation to her. See Doc.

Nos. 196, 269. Relator submits that a referral to Judge Dein for a report and recommendation may

present the most expeditious route toward adjudicating the Fee Petition, and therefore respectfully

suggests that the Court make the referral as discussed herein.



 Dated: December 8, 2023                         Respectfully submitted,



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                                 CERTIFICATE OF SERVICE
       I, Joan A. Lukey, hereby certify that this document filed through the CM/ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

on December 8, 2023. There are no known non-registered participants.

                                                        /s/ Joan A. Lukey
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